                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
ANTHONY RICHARD CONRAD,

                          Plaintiff,
      v.                                          Case No. 17-cv-664-pp

TODD PROCHASKA,

                        Defendant.
______________________________________________________________________________

                            SCHEDULING ORDER
______________________________________________________________________________

      Because the defendant has now appeared and answered the complaint,

the court sets the following deadlines for moving this case forward:

      The court hereby ORDERS as follows:

1.    Discovery. Parties must serve all requests for discovery by a date
      sufficiently early so that all discovery is completed no later than January
      21, 2019 (that means that the parties must serve their requests at least
      thirty days before the deadline to allow the opposing party sufficient time
      under the rules to respond by the deadline). Parties should serve
      discovery requests on the opposing parties, and must not file them with
      the court.

      The court advises the parties that, pursuant to Rule 30(a) of the Federal
      Rules of Civil Procedure, the defendant may depose the plaintiff and any
      other witness confined in a prison upon condition that, at least fourteen
      days before such a deposition, the defendant serves all parties with the
      notice required by the rule.

2.    Dispositive Motions. Parties may file motions to dismiss (Rule 12 of the
      Federal Rules of Civil Procedure and Civil Local Rule 7) and motions for
      summary judgment (Rule 56 of the Federal Rules of Civil Procedure and
      Civil Local Rule 56), together with supporting materials, no later than
      February 19, 2019. The court has included with this order copies of
      Rule 12, Rule 56, and Civil Local Rules 7 and 56 (E.D. Wis.).

      A party opposing a motion for summary judgment must file a response
      “within 30 days of service of the motion.” Civil Local Rule 56(b)(2)



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      (E.D. Wis.). Civil Local Rule 56(b)(2) sets forth the documents and
      information that a party must include in a response to a motion for
      summary judgment. Along with any motion for summary judgment they
      file, the defendants must provide a pro se plaintiff a full copy of Civil
      Local Rule 56(b).

      If a party files a motion for summary judgment, Rule 56 requires a
      district court to grant summary judgment “if the movant shows that
      there is no genuine dispute as to any material fact and the movant is
      entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

4.    Compliance with Court Rules and Orders. The court further advises
      the plaintiff that failure to make a timely submission or otherwise comply
      with the court’s orders may result in the dismissal of this case for failure
      to prosecute.

5.    Service. Plaintiffs who are inmates at Prisoner E-Filing Program
      institutions1 must submit all correspondence and case filings to
      institution staff, who will scan and e-mail documents to the court
      pursuant to the Prisoner E-Filing Program. Those plaintiffs do not need
      to mail copies to either the court or the defendant(s). The defendant will
      be served electronically through the court’s electronic case filing system.

      Plaintiffs who are inmates at all other prison facilities must submit the
      original document for each filing to the court to the following address:
      Clerk of Court, United States District Court for the Eastern District of
      Wisconsin, 517 E. Wisconsin Ave. - Rm. 362, Milwaukee, WI 53202.
      Because the court staff will electronically scan and enter on the docket
      each filing upon receipt, the plaintiff does not need to mail copies to the
      defendant. The defendant will be served electronically through the
      court’s electronic case filing system.

      Under Federal Rule of Civil Procedure 5(d)(1), parties must serve
      discovery requests and responses--depositions, interrogatories, requests
      for documents or tangible things, and requests for admission--on the
      opposing party, and must not file them with the court unless and until a
      party wishes to use them to support a motion or other pleading, or
      unless the court orders a party to file them. The plaintiff must mail these


1Prisoner E-Filing is mandatory for all inmates of Dodge Correctional
Institution, Green Bay Correctional Institution, Waupun Correctional
Institution, Wisconsin Secure Program Facility, Columbia Correctional
Institution, and Oshkosh Correctional Institution.
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     discovery requests and responses directly to counsel for the defendant.
     See Fed. R. Civ. Pro. 5(b).

     THE PLAINTIFF SHOULD NOT MAIL ANYTHING DIRECTLY TO THE
     JUDGE’S CHAMBERS. It will only delay the processing of the case.

6.   Motions for Appointment of Counsel. Under 28 U.S.C. § 1915(e)(1), the
     “court may request an attorney to represent any person unable to afford
     counsel.” The court will exercise its discretion to find a lawyer to
     represent the plaintiff only (1) after the plaintiff has made reasonable
     attempts to find a lawyer himself; and (2) if the court believes that “’the
     difficulty of the case—factually and legally— exceeds the particular
     plaintiff’s capacity as a layperson to coherently present it.’” Navejar v.
     Iyiola, 718 F.3d 692, 696 (7th Cir. 2013) (quoting Pruitt v. Mote, 503
     F.3d 647, 655 (7th Cir. 2007) (en banc)).

     Before the plaintiff asks the court to recruit a lawyer to represent him, he
     first must contact several lawyers to see if he can find a lawyer on his
     own. If none of the lawyers the plaintiff contacts agree to represent him,
     he then may file a motion asking the court to appoint a lawyer, but he
     must attach to that motion letters or other evidence showing that he
     tried to find a lawyer but was unsuccessful. Even if the plaintiff does
     that, he also must show that the case is sufficiently complex or difficult
     that he cannot present the case without a lawyer’s help. The plaintiff
     must show more than just that he does not have money and does not
     have legal training in order for the court to appoint him a lawyer.

7.   Additional Information and Resources. In addition to the various
     Federal Rules of Civil Procedure and Civil Local Rules that the court has
     attached to this order, it has attached copies of two documents prepared
     by court staff to address common questions that arise in prisoner and
     pro se civil litigation. Entitled “Answers to Pro Se Litigants’ Common
     Questions,” and “Answers to Prisoner Litigants’ Common Questions,”
     these two documents contain information that the plaintiff may find
     useful in prosecuting his case.

     Dated at Milwaukee this 25th day of September, 2018.

                                    BY THE COURT:


                                    ________________________________________
                                    HON. PAMELA PEPPER
                                    United States District Court Judge
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Federal Rule of Civil Procedure 12. Defenses and Objections: When and How Presented; Motion for
Judgment on the Pleadings; Consolidating Motions; Waiting Defenses; Pretrial Hearing
(a) Time to Serve a Responsive Pleading.
(1) In General. Unless another time is specified by this rule or a federal statute, the time for serving a
responsive pleading is as follows:
(A) A defendant must serve an answer:
(i) within 21 days after being served with the summons and complaint; or
(ii) if it has timely waived service under Rule 4(d), within 60 days after the request for a waiver was sent, or
within 90 days after it was sent to the defendant outside any judicial district of the United States.
(B) A party must serve an answer to a counterclaim or crossclaim within 21 days after being served with the
pleading that states the counterclaim or crossclaim.
(C) A party must serve a reply to an answer within 21 days after being served with an order to reply, unless the
order specifies a different time.
(2) United States and Its Agencies, Officers, or Employees Sued in an Official Capacity. The United States, a
United States agency, or a United States officer or employee sued only in an official capacity must serve an
answer to a complaint, counterclaim, or crossclaim within 60 days after service on the United States attorney.
(3) United States Officers or Employees Sued in an Individual Capacity. A United States officer or employee
sued in an individual capacity for an act or omission occurring in connection with duties performed on the
United States' behalf must serve an answer to a complaint, counterclaim, or crossclaim within 60 days after
service on the officer or employee or service on the United States attorney, whichever is later.
(4) Effect of a Motion. Unless the court sets a different time, serving a motion under this rule alters these
periods as follows:
(A) if the court denies the motion or postpones its disposition until trial, the responsive pleading must be
served within 14 days after notice of the court's action; or
(B) if the court grants a motion for a more definite statement, the responsive pleading must be served within 14
days after the more definite statement is served.
(b) How to Present Defenses. Every defense to a claim for relief in any pleading must be asserted in the
responsive pleading if one is required. But a party may assert the following defenses by motion:

(1) lack of subject-matter jurisdiction;
(2) lack of personal jurisdiction;
(3) improper venue;
(4) insufficient process;

(5) insufficient service of process;
(6) failure to state a claim upon which relief can be granted; and
(7) failure to join a party under Rule 19.
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A motion asserting any of these defenses must be made before pleading if a responsive pleading is allowed. If
a pleading sets out a claim for relief that does not require a responsive pleading, an opposing party may assert
at trial any defense to that claim. No defense or objection is waived by joining it with one or more other
defenses or objections in a responsive pleading or in a motion.
(c) Motion for Judgment on the Pleadings. After the pleadings are closed--but early enough not to delay
trial--a party may move for judgment on the pleadings.
(d) Result of Presenting Matters Outside the Pleadings. If, on a motion under Rule 12(b)(6) or 12(c),
matters outside the pleadings are presented to and not excluded by the court, the motion must be treated as one
for summary judgment under Rule 56. All parties must be given a reasonable opportunity to present all the
material that is pertinent to the motion.
(e) Motion for a More Definite Statement. A party may move for a more definite statement of a pleading to
which a responsive pleading is allowed but which is so vague or ambiguous that the party cannot reasonably
prepare a response. The motion must be made before filing a responsive pleading and must point out the
defects complained of and the details desired. If the court orders a more definite statement and the order is not
obeyed within 14 days after notice of the order or within the time the court sets, the court may strike the
pleading or issue any other appropriate order.
(f) Motion to Strike. The court may strike from a pleading an insufficient defense or any redundant,
immaterial, impertinent, or scandalous matter. The court may act:
(1) on its own; or
(2) on motion made by a party either before responding to the pleading or, if a response is not allowed, within
21 days after being served with the pleading.
(g) Joining Motions.
(1) Right to Join. A motion under this rule may be joined with any other motion allowed by this rule.
(2) Limitation on Further Motions. Except as provided in Rule 12(h)(2) or (3), a party that makes a motion
under this rule must not make another motion under this rule raising a defense or objection that was available
to the party but omitted from its earlier motion.
(h) Waiving and Preserving Certain Defenses.
(1) When Some Are Waived. A party waives any defense listed in Rule 12(b)(2)-(5) by:
(A) omitting it from a motion in the circumstances described in Rule 12(g)(2); or

(B) failing to either:
(i) make it by motion under this rule; or
(ii) include it in a responsive pleading or in an amendment allowed by Rule 15(a)(1) as a matter of course.
(2) When to Raise Others. Failure to state a claim upon which relief can be granted, to join a person required
by Rule 19(b), or to state a legal defense to a claim may be raised:
(A) in any pleading allowed or ordered under Rule 7(a);
(B) by a motion under Rule 12(c); or

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(C) at trial.
(3) Lack of Subject-Matter Jurisdiction. If the court determines at any time that it lacks subject-matter
jurisdiction, the court must dismiss the action.
(i) Hearing Before Trial. If a party so moves, any defense listed in Rule 12(b)(1)-(7)--whether made in a
pleading or by motion--and a motion under Rule 12(c) must be heard and decided before trial unless the court
orders a deferral until trial.


CREDIT(S)
(Amended December 27, 1946, effective March 19, 1948; January 21, 1963, effective July 1, 1963; February
28, 1966, effective July 1, 1966; March 2, 1987, effective August 1, 1987; April 22, 1993, effective December
1, 1993; April 17, 2000, effective December 1, 2000; April 30, 2007, effective December 1, 2007; March 26,
2009, effective December 1, 2009.)




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Federal Rule of Civil Procedure 56. Summary Judgment
(a) Motion for Summary Judgment or Partial Summary Judgment. A party may move for summary
judgment, identifying each claim or defense--or the part of each claim or defense--on which summary
judgment is sought. The court shall grant summary judgment if the movant shows that there is no genuine
dispute as to any material fact and the movant is entitled to judgment as a matter of law. The court should state
on the record the reasons for granting or denying the motion.
(b) Time to File a Motion. Unless a different time is set by local rule or the court orders otherwise, a party
may file a motion for summary judgment at any time until 30 days after the close of all discovery.
(c) Procedures.
             (1) Supporting Factual Positions. A party asserting that a fact cannot be or is
             genuinely disputed must support the assertion by:
                     (A) citing to particular parts of materials in the record, including
                     depositions, documents, electronically stored information, affidavits
                     or declarations, stipulations (including those made for purposes of
                     the motion only), admissions, interrogatory answers, or other
                     materials; or
                     (B) showing that the materials cited do not establish the absence or
                     presence of a genuine dispute, or that an adverse party cannot
                     produce admissible evidence to support the fact.
             (2) Objection That a Fact Is Not Supported by Admissible Evidence. A party may
             object that the material cited to support or dispute a fact cannot be presented in a
             form that would be admissible in evidence.
             (3) Materials Not Cited. The court need consider only the cited materials, but it may
             consider other materials in the record.
             (4) Affidavits or Declarations. An affidavit or declaration used to support or oppose
             a motion must be made on personal knowledge, set out facts that would be
             admissible in evidence, and show that the affiant or declarant is competent to testify
             on the matters stated.
(d) When Facts Are Unavailable to the Nonmovant. If a nonmovant shows by affidavit or declaration that,
for specified reasons, it cannot present facts essential to justify its opposition, the court may:
             (1) defer considering the motion or deny it;
             (2) allow time to obtain affidavits or declarations or to take discovery; or

             (3) issue any other appropriate order.
(e) Failing to Properly Support or Address a Fact. If a party fails to properly support an assertion of fact or
fails to properly address another party's assertion of fact as required by Rule 56(c), the court may:

             (1) give an opportunity to properly support or address the fact;
             (2) consider the fact undisputed for purposes of the motion;

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             (3) grant summary judgment if the motion and supporting materials--including the
             facts considered undisputed--show that the movant is entitled to it; or
             (4) issue any other appropriate order.
(f) Judgment Independent of the Motion. After giving notice and a reasonable time to respond, the court
may:
             (1) grant summary judgment for a nonmovant;
             (2) grant the motion on grounds not raised by a party; or
             (3) consider summary judgment on its own after identifying for the parties material
             facts that may not be genuinely in dispute.
(g) Failing to Grant All the Requested Relief. If the court does not grant all the relief requested by the
motion, it may enter an order stating any material fact--including an item of damages or other relief--that is not
genuinely in dispute and treating the fact as established in the case.
(h) Affidavit or Declaration Submitted in Bad Faith. If satisfied that an affidavit or declaration under this
rule is submitted in bad faith or solely for delay, the court--after notice and a reasonable time to respond--may
order the submitting party to pay the other party the reasonable expenses, including attorney's fees, it incurred
as a result. An offending party or attorney may also be held in contempt or subjected to other appropriate
sanctions.


CREDIT(S)

(Amended December 27, 1946, effective March 19, 1948; January 21, 1963, effective July 1, 1963; March 2,
1987, effective August 1, 1987; April 30, 2007, effective December 1, 2007; March 26, 2009, effective
December 1, 2009; April 28, 2010, effective December 1, 2010.)




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Civil Local Rule 7. Form of Motions and Other Papers
(a) Form of Motion and Moving Party’s Supporting Papers. Every motion must state the statute or rule
pursuant to which it is made and, except for those brought under Civil L. R. 7(h) (Expedited Non-Dispositive
Motion Practice), must be accompanied by:

            (1) a supporting memorandum and, when necessary, affidavits, declarations, or other papers; or
            (2) a certificate stating that no memorandum or other supporting papers will be filed.
(b) Non-Moving Party’s Response. For all motions other than those for summary judgment or those brought
under Civil L. R. 7(h) (Expedited Non-Dispositive Motion Practice), any memorandum and other papers in
opposition must be filed within 21 days of service of the motion.

(c) Reply. For all motions other than those for summary judgment or those brought under Civil L. R. 7(h)
(Expedited Non-Dispositive Motion Practice), the moving party may serve a reply memorandum and other
papers within 14 days from service of the response memorandum.
(d) Sanction for Noncompliance. Failure to file either a supporting memorandum or other papers, or a
certificate of counsel stating that no memorandum or other supporting papers will be filed, is sufficient cause
for the Court to deny the motion. Failure to file a memorandum in opposition to a motion is sufficient cause for
the Court to grant the motion. The Court also may impose sanctions under General L. R. 83(f).
(e) Oral Argument. The Court will hear oral argument at its discretion.
(f) Length of Memoranda. Subject to the limitations of Civil L. R. 7(h) (Expedited Non-Dispositive Motion
Practice) and Civil L. R. 56 (Summary Judgment Motion Practice), the principal memorandum in support of,
or in opposition to, any motion must not exceed 30 pages and reply briefs must not exceed 15 pages (excluding
any caption, cover page, table of contents, table of authorities, and signature block). No memorandum
exceeding the page limitations may be filed unless the Court has previously granted leave to file an oversized
memorandum.
(g) Modification of Provisions in Particular Cases. The Court may provide by order or other notice to the
parties that different or additional provisions regarding motion practice apply.
(h) Expedited Non-Dispositive Motion Practice.
            (1) Parties in civil actions may seek non-dispositive relief by expedited motion. The motion must
            be designated as a “Civil L. R. 7(h) Expedited Non-Dispositive Motion.” The Court may schedule
            the motion for hearing or may decide the motion without hearing. The Court may designate that
            the hearing be conducted by telephone conference call. The Court may order an expedited briefing
            schedule.
            (2) The motion must contain the material facts, argument, and, if necessary, counsel’s certification
            pursuant to Civil L. R. 37. The motion must not exceed 3 pages excluding any caption and
            signature block. The movant may not file a separate memorandum with the motion. The movant
            may file with the motion an affidavit or declaration for purposes of (1) attesting to facts pertinent
            to the motion and/or (2) authenticating documents relevant to the issue(s) raised in the motion.
            The movant’s affidavit or declaration may not exceed 2 pages. The respondent must file a
            memorandum in opposition to the motion within 7 days of service of the motion, unless otherwise
            ordered by the Court. The respondent’s memorandum must not exceed 3 pages. The respondent
            may file with its memorandum an affidavit or declaration for purposes of (1) attesting to facts
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             pertinent to the respondent’s memorandum and/or (2) authenticating documents relevant to the
             issue(s) raised in the motion. The respondent’s affidavit or declaration may not exceed 2 pages.
             No reply brief is permitted absent leave of Court.
             (3) The provisions of subsection (h) do not apply to 42 U.S.C. § 1983 actions brought by
             incarcerated persons proceeding pro se.
(i) Leave to file paper. Any paper, including any motion, memorandum, or brief, not authorized by the
Federal Rules of Civil Procedure, these Local Rules, or a Court order must be filed as an attachment to a
motion requesting leave to file it. If the Court grants the motion, the Clerk of Court must then file the paper.

(j) Citations.
             (1) With the exception of the prohibitions in Seventh Circuit Rule 32.1, this Court does not
             prohibit the citation of unreported or nonprecedential opinions, decisions, orders, judgments, or
             other written dispositions.
             (2) If a party cites an unreported opinion, decision, order, judgment or other written disposition,
             the party must file and serve a copy of that opinion, decision, order, judgment, or other written
             disposition.




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Civil L. R. 56. Summary Judgment.
        (a) Pro Se Litigation.

              (1) If a party is proceeding pro se in civil litigation and the opposing party files a motion for
        summary judgment, counsel for the movant must comply with the following procedure:

                          (A) The motion must include a short and plain statement that any factual assertion in
                 the movant’s affidavit, declaration, or other admissible documentary evidence will be
                 accepted by the Court as being true unless the party unrepresented by counsel submits
                 the party’s own affidavit, declaration, or other admissible documentary evidence
                 contradicting the factual assertion.

                          (B) In addition to the statement required by Civil L. R. 56(a)(1)(A), the text to Fed.
                 R. Civ. P. 56 (c),(d), and (e), Civil L. R. 56(a), Civil L. R. 56(b), and Civil L. R. 7 must be part
                 of the motion.

                 (2) This procedure also applies to motions to dismiss brought pursuant to Fed. R. Civ. P.
        12(b)(6) or motions for judgment on the pleadings pursuant to Fed. R. Civ. P. 12(c) where matters
        outside the pleadings are presented to the Court.

        (b) Additional Summary Judgment Procedures. Motions for summary judgment must comply with
Fed. R. Civ. P. 56 and Civil L. R. 7. In addition, with the exception of Social Security reviews, other actions for
review of administrative agency decisions, and other actions in which a judge relieves the parties of this Rule’s
requirements, the following must be met:

              (1) Moving Party’s Principal Materials in Support of Motion. With each motion for
        summary judgment, the moving party must file:

                          (A) a memorandum of law;

                          (B) a statement setting forth any material facts to which all parties have
                 stipulated;

                           (C) a statement of proposed material facts as to which the moving party contends
                 there is no genuine issue and that entitle the moving party to a judgment as a matter of law;

                                   (i) the statement shall consist of short numbered paragraphs, including
                          within each paragraph specific references to the affidavits, declarations, parts of
                          the record, and other supporting materials relied upon to support the fact described
                          in that paragraph;

                                  (ii) a moving party may not file more than 150 separately numbered
                          statements of fact;

                                  (iii) failure to submit such a statement constitutes grounds for denial of
                          the motion; and

                          (D) any affidavits, declarations, and other materials referred to in Fed. R. Civ. P.
                 56(c).

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        (2) Opposing Party’s Materials in Opposition. Each party opposing a motion for
summary judgment must file within 30 days of service of the motion and the materials required by
subsection (b)(1), above:

                  (A) a memorandum of law;

                  (B) a concise response to the moving party’s statement of facts that must contain:

                           (i) a reproduction of each numbered paragraph in the moving party’s
                  statement of facts followed by a response to each paragraph, including, in the case of
                  any disagreement, specific references to the affidavits, declarations, parts of the
                  record, and other supporting materials relied upon, and

                           (ii) a statement, consisting of short numbered paragraphs, of any additional
                  facts that require the denial of summary judgment, including references to the
                  affidavits, declarations, parts of the record, and other supporting materials relied
                  upon to support the facts described in that paragraph. A non-moving party may not
                  file more than 100 separately numbered statements of additional facts; and

                  (C) any opposing affidavits, declarations, and other materials referred to in Fed. R.
         Civ. P. 56(c).

        (3) Moving Party’s Materials in Reply. A moving party may file within 14 days of the
service of the opposing party’s materials under subsection (b)(2), above:

                  (A) a reply memorandum;

                 (B) a reply to any additional facts submitted by the opposing party pursuant to
         subsection (b)(2) above, in the form prescribed in section (b)(2)(B)(i) above; and

                 (C) any affidavits, declarations, and other materials referred to in Fed. R. Civ. P.
         56(c) submitted in reply.

        (4) Effect of Uncontroverted Statements of Fact. The Court will deem uncontroverted
statements of material fact admitted solely for the purpose of deciding summary judgment.

         (5) Stipulated Facts. Parties are encouraged to stipulate to facts. Facts so stipulated will not
count against any party’s allotment of proposed facts and do not require references to evidentiary
support.

        (6) Citations to Facts in Memoranda. Assertions of fact in the parties’ supporting
memoranda must refer to the corresponding numbered paragraph of the statement of facts,
statement of additional facts, or statement of stipulated facts.

         (7) Prior Leave of Court Required to Increase the Number of Statements of Fact or
Statements of Additional Fact. A party may not file any proposed statements of material fact or
statements of additional fact in excess of the limit set forth in this rule unless the Court previously has
granted leave upon a showing that an increase is warranted.



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    (8) Length of Memoranda.

             (A) A principal memorandum in support of, or opposition to, summary judgment
    must not exceed 30 pages and a reply memorandum must not exceed 15 pages (excluding any
    caption, cover page, table of contents, table of authorities, and signature block).

            (B) No memorandum exceeding the page limitations may be filed unless the
    Court previously has granted leave to file an oversized memorandum.

    (9) Collateral Motions. Collateral motions, such as motions to strike, are disfavored.




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